     Case 1:23-cr-00047-MHC-JEM Document 54 Filed 11/30/23 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA

                                                 Criminal Action No.
         v.
                                                 1:23-CR-00047-MHC-JEM
   K RISTOPHER K NEUBUHLER


                     NOTICE OF ENTRY OF APPEARANCE
   Assistant United States Attorney Norman L. Barnett herein files notice of his

appearance in the above-styled case, and respectfully requests that he be added
as counsel of record for the United States for asset forfeiture-related issues.

                                          Respectfully submitted,

                                          R YAN K. B UCHANAN
                                             United States Attorney


                                       /s/N ORMAN L. B ARNETT
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